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                                                                    1 WEILAND GOLDEN GOODRICH LLP
                                                                      Jeffrey I. Golden, State Bar No. 133040
                                                                    2 jgolden@wgllp.com
                                                                      Faye Rasch, State Bar No. 253838
                                                                    3 frasch@wgllp.com
                                                                      650 Town Center Drive, Suite 600
                                                                    4 Costa Mesa, California 92626
                                                                      Telephone      714-966-1000
                                                                    5 Facsimile      714-966-1002

                                                                    6 Attorneys for Chapter 7 Trustee,
                                                                      Thomas H. Casey
                                                                    7

                                                                    8                             UNITED STATES BANKRUPTCY COURT

                                                                    9                CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

                                                                   10

                                                                   11 In re                                               Case No. 8:16-bk-15156-CB
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 779 STRADELLA, LLC., a Delaware Limited             Chapter 7
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                      Liability Company,
                                                                   13                                                     MOTION FOR ORDER AUTHORIZING
                                                                                    Debtor.                               TRUSTEE TO ENTER INTO
                                                                   14                                                     SETTLEMENT AGREEMENT;
                                                                                                                          MEMORANDUM OF POINTS AND
                              Tel 714-966-1000




                                                                   15                                                     AUTHORITIES, DECLARATION OF
                                                                                                                          THOMAS H. CASEY IN SUPPORT
                                                                   16
                                                                                                                          [No Hearing Required Pursuant to Bankruptcy
                                                                   17                                                     Rule 9013-1]

                                                                   18

                                                                   19 TO THE HONORABLE CATHERINE BAUR, UNITED STATES BANKRUPTCY JUDGE:

                                                                   20           Thomas H. Casey, the chapter 7 trustee (the “Trustee”) for the bankruptcy estate (the

                                                                   21 “Estate”) of 779 Stradella, LLC (the “Debtor”), files this Chapter 7 Trustee’s Motion for Order

                                                                   22 Authorizing Trustee to Enter into Settlement Agreement (the “Motion”). In support of the Motion,

                                                                   23 the Trustee submits the following memorandum of points and authorities and his declaration (the

                                                                   24 “Casey Declaration”).

                                                                   25 I.        INTRODUCTION

                                                                   26           By this Motion, the Trustee seeks the Court's approval of a Settlement Agreement (the

                                                                   27 "Agreement") entered into between the Trustee on one hand and Paul A. Manafort ("Manafort), on

                                                                   28 the other hand, a true and correct copy of which is attached hereto as Exhibit “1”. The Agreement
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                                                                    1 resolves all issues as to Mr. Manafort with respect to certain transfers that were made pre-petition

                                                                    2 without the need for further litigation.

                                                                    3           As such, the Trustee believes the Agreement is in the best interests of the Estate and all

                                                                    4 creditors. The Agreement is also fair and reasonable and is a valid exercise of the Trustee’s

                                                                    5 business judgment. The Agreement was entered into in good faith and was negotiated at arm’s

                                                                    6 length. The Trustee requests that the Court enter an order pursuant to Federal Rule of Bankruptcy

                                                                    7 Procedure (“FRBP”) 9019 authorizing the Trustee to enter into the Agreement and approving the

                                                                    8 terms of the Agreement.

                                                                    9 II.       BACKGROUND FACTS
                                                                   10           On December 21, 2016 (the “Petition Date”), the Debtor filed its petition for relief under

                                                                   11 chapter 11 of title 11 of the United States Code (“Bankruptcy Code”). The case is pending in the
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                                                Fax 714-966-1002




                                                                   12 United States Bankruptcy Court for the Central District of California, Santa Ana Division (the
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 “Court”), bearing Case No. 8:16-bk-15156-CB (“Bankruptcy Case”).

                                                                   14           The Bankruptcy Case was subsequently converted to one under Chapter 7 of the United
                              Tel 714-966-1000




                                                                   15 States Bankruptcy Code. Thereafter, Thomas H. Casey was duly appointed chapter 7 trustee.

                                                                   16           As of the Petition Date, Debtor’s sole asset was the Property – a single-family residence

                                                                   17 located at 779 Stradella Road, Los Angeles, California 90077. The Property was encumbered by

                                                                   18 (i) a first priority deed of trust held by Genesis Capital Master Fund II, LLC (the "Secured

                                                                   19 Creditor"), that secures a debt of no less than $7.96 million, (ii) a second priority deed of trust held

                                                                   20 by Paul Manafort that secures an alleged debt of approximately $2.7 million (the “Manafort Lien”),

                                                                   21 (iii) property tax liens held by the Los Angeles County Tax Collector that secure tax obligations of

                                                                   22 approximately $200,000, (iv) a lien in favor of Vantage Design Group, Inc. in the amount of

                                                                   23 $63,352.43 (the “Vantage Lien”), and (v) a lien in favor of Mr. Speedy Plumbing & Rooter, Inc. in

                                                                   24 the amount of $15,500 (the “Speedy Lien”).

                                                                   25           On June 5, 2018, upon noticed motion, the Court authorized the Trustee to sell the Property

                                                                   26 free and clear of liens with the net sales proceeds to attach in the same value, priority, and subject

                                                                   27 to all of the Trustee's rights to object to, dispute, or subordinate such liens. The Manafort Lien and

                                                                   28 the Vantage Lien were each disputed as preferential transfers and were not paid upon sale of the
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                                                                    1 Property. The sale resulted in $104,000.00 in funds to the Estate plus a credit bid by the Secured

                                                                    2 Creditor.

                                                                    3             Initially Manafort held a second Deed of Trust recorded on December 20, 2016 as

                                                                    4 Instrument No. 20161618867 in the Official Records (the “Manafort Deed of Trust”) secured by

                                                                    5 the Property.

                                                                    6             On December 1, 2016, Jeffrey Yohai ("Yohai") executed a Power of Attorney appointing

                                                                    7 Manafort as his attorney in fact and authorizing Manafort to act on his behalf. Manafort executed

                                                                    8 the Manafort Deed of Trust as “attorney in fact” for Yohai.

                                                                    9             On or about February 5, 2018, Manafort, by Assignment of Deed of Trust, assigned his

                                                                   10 interest in the Deed of Trust to Yohai which Assignment was recorded as Instrument No.

                                                                   11 20180116782 in the Official Records (“Assignment”).
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                                                Fax 714-966-1002




                                                                   12             On April 26, 2018, the Trustee commenced an adversary proceeding against Manafort on
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 the basis that the Manafort Deed of Trust was an avoidable transfer (“Adversary Proceeding”).

                                                                   14             The Agreement is a compromise of disputed claims and shall not be construed as an
                              Tel 714-966-1000




                                                                   15 admission of liability or responsibility for any purpose by any party. To avoid further litigation of

                                                                   16 the Adversary Proceeding, and to maximize the return to the creditors of the Estate, the Parties

                                                                   17 wish to resolve the disputes between them as set forth below:

                                                                   18             A.       Summary of the Terms of the Agreement
                                                                   19             The Agreement contains, inter alia, the following salient terms, among other terms1:
                                                                   20                      1.       Bankruptcy Court Approval.
                                                                   21             This Agreement is subject to approval by the Bankruptcy Court in the Bankruptcy Case.

                                                                   22 This Agreement is contingent upon and expressly conditioned on the issuance of an order by the

                                                                   23 Bankruptcy Court in the Bankruptcy Case approving this Agreement pursuant to Federal Rule of

                                                                   24 Bankruptcy Procedure 9019. Unless and until approved by the Bankruptcy Court, this Agreement

                                                                   25 set forth herein is of no force or effect whatsoever. The Parties are bound by this Agreement

                                                                   26 subject only to Bankruptcy Court approval and waive any right to object to approval by

                                                                   27

                                                                   28       1
                                                                                If any terms herein contradict any terms in the Agreement, the terms in the Agreement shall control.
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                                                                    1                  2.      Assignment
                                                                    2           Manafort shall assign any and all right, title and interest in the Manafort Deed of Trust and

                                                                    3 Assignment to the Trustee. Concurrent with the execution of the Agreement, Manafort shall deliver

                                                                    4 to the Trustee: (i) a full reconveyance of the Manafort Deed of Trust and (ii) an assignment both in

                                                                    5 form and content acceptable to the Trustee in his sole discretion.

                                                                    6                  3.      Dismissal of Adversary Proceeding
                                                                    7           Within ten (10) days after the Order becomes final, the Trustee shall cause the Adversary

                                                                    8 proceeding to be dismissed as to Mr. Manafort.

                                                                    9

                                                                   10 III.      THE AGREEMENT IS FAIR AND REASONABLE, IS IN THE BEST INTEREST
                                                                   11           OF THE ESTATE AND CREDITORS, AND SHOULD BE APPROVED BY THE
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12           COURT
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13           FRBP 9019(a) provides:

                                                                   14                  On motion by the trustee and after notice and a hearing, the court
                                                                                       may approve a compromise or settlement. Notice shall be given to
                              Tel 714-966-1000




                                                                   15                  creditors, the United States Trustee, the debtor, and indenture trustees
                                                                                       as provided in Rule 2002 and to any other entity as the court may
                                                                   16                  direct.

                                                                   17           The standard to be applied to the approval of a settlement includes the probability of

                                                                   18 success of any litigation, the difficulties in collection on a judgment, the complexity of the matter,

                                                                   19 the expense, inconvenience or delay occasioned by resolution through litigation, interests of

                                                                   20 creditors, and the reasonableness of the compromise. See In re A&C Properties, 784 F.2d 1377,

                                                                   21 1380-81 (9th Cir. 1986), cert. den., Martin v. Robinson, 479 U.S. 854, 107 S.Ct. 189 (1989).

                                                                   22 Although the court is to consider the range of results in litigation, "the court's assessment does not

                                                                   23 require resolution of the issues, but only their identification, so that the reasonableness of the

                                                                   24 settlement may be evaluated." In re Hermitage Inn, Inc., 66 B.R. 71, 72 (Bankr. D. Colo. 1986).

                                                                   25           In ruling on a proposed compromise, a bankruptcy court should give substantial weight to

                                                                   26 the trustee's views as to the merits of the compromise and settlement and should not substitute its

                                                                   27 own judgment for that of the trustee. See In re Blair, 538 F.2d 849, 851 (9th Cir. 1976); see also In

                                                                   28 re Calra Leather, Inc., 44 B.R. 457, 466 (Bankr. S.D.N.Y. 1984). Nor does the Court need to
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                                                                    1 conduct an extensive investigation into the merits of the claims that the parties seek to settle. See

                                                                    2 In re Walsh Const., Inc., 669 F.2d 1325, 1328 (9th Cir. 1982). Rather, the court should "canvass

                                                                    3 the issues and see whether the settlement 'fall[s] below the lowest point in the range of

                                                                    4 reasonableness.'" In re W.T. Grant, 699 F.2d 599, 608 (2d Cir. 1982); see also In re Bell &

                                                                    5 Beckwith, 87 B.R. 472, 474 (N.D. Ohio 1987).

                                                                    6           Utilizing the standards set forth above, the Trustee believes the Agreement is in the best

                                                                    7 interests of the Estate and its creditors. The dispute with Manafort is not necessarily complex, but

                                                                    8 the Estate is likely to incur substantial administrative costs to litigate this action. The settlement

                                                                    9 will act to remove the Manafort Lien from the Sale Proceeds such that the Sale Proceeds can be

                                                                   10 used for the benefit of the Estate. Based upon the foregoing, the settlement is fair and reasonable,

                                                                   11 is in the best interests of creditors and the Estate and is a valid exercise of the Trustee’s business
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 judgment. The compromise was entered into in good faith and was negotiated at arms’ length. The
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 Agreement, as set forth in Exhibit "1", should be approved by this Court. Accordingly, the Trustee

                                                                   14 requests that the Bankruptcy Court enter an order pursuant to FRBP 9019 authorizing the Trustee
                              Tel 714-966-1000




                                                                   15 to enter into the Agreement and approving the terms of the Agreement.

                                                                   16 IV.       THE MOTION IS APPROPRIATE WITHOUT A HEARING
                                                                   17           Local Bankruptcy Rule 9013-1(g)(1) provides that:

                                                                   18                  Except as to matters specifically noted in paragraph (g)(2)
                                                                                       below, and as otherwise ordered by the court, any matter which
                                                                   19                  may be set for hearing in accordance with Local Bankruptcy
                                                                                       Rule 9013-1 may be determined upon notice of opportunity to
                                                                   20                  request a hearing. . .

                                                                   21           The Trustee believes that the no-hearing procedure established by Local Bankruptcy Rule

                                                                   22 9013-1(o) is appropriate in this case since: (1) it provides notice and opportunity for a hearing to all

                                                                   23 creditors and parties entitled to notice, (2) it reduces the costs to the Estate by alleviating the need

                                                                   24 for an appearance in court, and (3) the Trustee does not anticipate any opposition to this Motion.

                                                                   25

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                                                                    1 V.        CONCLUSION
                                                                    2           Based upon the foregoing, and the accompanying Casey Declaration, the Trustee

                                                                    3 respectfully requests that the Court enter an order providing the following relief:

                                                                    4           1.     Granting the Motion;

                                                                    5           2.     Approving the terms of the Agreement, a copy of which is attached hereto as

                                                                    6 Exhibit “1,” and authorizing the Trustee to enter into the Agreement;

                                                                    7           3.     Authorizing the Trustee to execute any documents or take any actions reasonably

                                                                    8 necessary to effectuate the terms of the Agreement; and

                                                                    9           4.     Granting such other and further relief as this Court may deem just and proper.

                                                                   10                                                Respectfully submitted,

                                                                   11 Dated: November 27, 2018                       WEILAND GOLDEN GOODRICH LLP
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13                                                By: /s/ Faye C. Rasch
                                                                                                                         FAYE C. RASCH
                                                                   14                                                    Attorneys for Chapter 7 Trustee,
                                                                                                                         Thomas H. Casey
                              Tel 714-966-1000




                                                                   15

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                                                                    1                                 DECLARATION OF THOMAS H. CASEY
                                                                    2               I, Thomas H. Casey, declare as follows:

                                                                    3               1.     I am the duly appointed chapter 7 trustee for the bankruptcy estate of 779 Stradella,

                                                                    4 LLC. I know each of the following facts to be true of my own personal knowledge or on

                                                                    5 information and belief and, if called as a witness, I could and would competently testify with

                                                                    6 respect thereto. I make this declaration in support of the Chapter 7 Trustee's Motion For Order

                                                                    7 Authorizing Trustee To Enter Into Settlement Agreement (the “Motion”). Any and all capitalized terms

                                                                    8 not expressly defined herein shall have the meaning ascribed to them in the Motion.

                                                                    9               2.     According to the proceedings docket, on December 21, 2016 (the “Petition Date”),

                                                                   10 the Debtor filed its petition for relief under chapter 11 of title 11 of the United States Code

                                                                   11 (“Bankruptcy Code”). The case is pending in the United States Bankruptcy Court for the Central
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 District of California, Santa Ana Division (the “Court”), bearing Case No. 8:16-bk-15156-CB
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 (“Bankruptcy Case”).

                                                                   14               3.     The Bankruptcy Case was subsequently converted to one under Chapter 7 of the
                              Tel 714-966-1000




                                                                   15 United States Bankruptcy Code. Thereafter, I was duly appointed chapter 7 trustee.

                                                                   16               4.     I have reviewed the Debtor's schedules which reflect that as of the Petition Date,

                                                                   17 Debtor’s sole asset was the Property – a single-family residence located at 779 Stradella Road, Los

                                                                   18 Angeles, California 90077. The Property was encumbered by (i) a first priority deed of trust held

                                                                   19 by Genesis Capital Master Fund II, LLC, that secures a debt of no less than $7.96 million, (ii) a

                                                                   20 second priority deed of trust held by Paul Manafort that secures an alleged debt of approximately

                                                                   21 $2.7 million (the “Manafort Lien”), (iii) property tax liens held by the Los Angeles County Tax

                                                                   22 Collector that secure tax obligations of approximately $200,000, (iv) a lien in favor of Vantage

                                                                   23 Design Group, Inc. in the amount of $63,352.43 (the “Vantage Lien”), and (v) a lien in favor of Mr.

                                                                   24 Speedy Plumbing & Rooter, Inc. in the amount of $15,500 (the “Speedy Lien”).

                                                                   25               5.     On June 5, 2018, upon noticed motion, the Court authorized me to sell the Property

                                                                   26 free and clear of liens with the net sales proceeds to attach in the same value, priority, and subject

                                                                   27 to all of the Trustee's rights to object to, dispute, or subordinate such liens. The Manafort Lien and

                                                                   28 the Vantage Lien were each disputed as preferential transfers and were not paid upon sale of the
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                                   650 Town Center Drive, Suite 600
                                                     Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): Motion for Order Authorizing Trustee to Enter Into Settlement
Agreement; Memorandum of Points and Authorities, Declaration of Thomas H. Casey in Support
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) December 3,
2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are
on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) December 3, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.

Paul Manafort
721 Fifth Avenue #43G
New York, NY 10022-2537

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) December 3, 2018, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on,
or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Served by Personal Delivery
Honorable Catherine E. Bauer
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5165 / Courtroom 5D
Santa Ana, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 12/3/2018                      Victoria Rosales
 Date                           Printed Name                                                    Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
Thomas H Casey (TR) msilva@tomcaseylaw.com, thc@trustesolutions.net
Jeffrey W Dulberg jdulberg@pszjlaw.com
Oscar Estrada oestrada@ttc.lacounty.gov
Marc C Forsythe kmurphy@goeforlaw.com, mforsythe@goeforlaw.com;goeforecf@gmail.com
Beth Gaschen bgaschen@wgllp.com, kadele@wgllp.com;vrosales@wgllp.com;cbmeeker@gmail.com;cyoshonis@wgllp.com
Richard Girgado rgirgado@counsel.lacounty.gov
Barry S Glaser bglaser@swesq.com, erhee@swesq.com
Jeffrey I Golden jgolden@wgllp.com, kadele@wgllp.com;vrosales@lwgfllp.com;cbmeeker@gmail.com
Michael J Hauser michael.hauser@usdoj.gov
James Andrew Hinds jhinds@jhindslaw.com, mduran@jhindslaw.com
Marc Y Lazo mlazo@whbllp.com
Faye C Rasch frasch@wgllp.com, kadele@wgllp.com;tziemann@wgllp.com
Daren M Schlecter daren@schlecterlaw.com, assistant@schlecterlaw.com
Kambiz J Shabani joseph@shabanipartners.com
Paul R Shankman pshankman@jhindslaw.com, mduran@jhindslaw.com
Rachel M Sposato rsposato@jhindslaw.com, mduran@jhindslaw.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
